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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       v.
                                                    Crim. No. 18-cr-32 (DLF)
INTERNET RESEARCH AGENCY, ET AL.,

            Defendants.




   GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS




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                                       INTRODUCTION

       The United States of America, by and through Special Counsel Robert S. Mueller, III and

United States Attorney for the District of Columbia Jessie K. Liu, submits this opposition to the

motion to dismiss the Indictment (ECF No. 46) filed by defendant Concord Management and

Consulting, LLC (“Concord”). The motion should be denied.

       Concord claims that Count One of the Indictment should be dismissed because, in its view,

that count fails to adequately allege a conspiracy to defraud the United States, in violation of 18

U.S.C. § 371.1 Specifically, Concord contends that the Indictment fails to allege a conspiracy to

defraud that interferes with a lawful governmental function; omits the requisite mens rea

(willfulness); charges no deprivation of government property or money; and is unconstitutionally

vague. Those arguments lack merit.

       The Indictment satisfies Fed. R. Crim. P. 7(c) because it is a “plain, concise, and definite

written statement of the essential facts constituting the offense charged.” The Indictment alleges

all the elements of a Section 371 conspiracy and explains the essential nature of the fraud

contemplated by Concord and its co-conspirators. Further, as to mens rea, the government need

prove only that Concord “knowingly participated in the conspiracy with the intent * * * to defraud

the United States,” United States v. Treadwell, 760 F.2d 327, 333 (D.C. Cir. 1985), which the

Indictment properly alleges. Finally, the Indictment sufficiently places the defendants on notice

of the prohibited conduct. Far from charging Concord with “a contrived crime not specifically

defined in any statute, without notice and under a standard known only to the Special Counsel,”

as Concord contends (at 13), the Indictment alleges the violation of a statute dating to 1867 that



1
  Concord asks (at 4) this Court to “dismiss this defective Indictment” but Concord is only charged
in Count One. Any reference in this opposition to the “Indictment” means just Count One.


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the courts have construed as prohibiting precisely the unlawful conduct described in Count One,

namely, a conspiracy to obstruct governmental functions by dishonest and deceitful means.

Because the Indictment adequately alleges the requisite facts and elements of a conspiracy to

defraud the United States pursuant to Rule 7(c), Concord’s motion to dismiss should be denied.

                                         STATEMENT

       On February 16, 2018, a grand jury returned an eight-count, thirty-seven-page Indictment

against thirteen individuals and three corporate defendants. The Indictment alleges that the

defendants engaged in a multi-year conspiracy, operating out of Russia, to defraud the United

States by impairing, obstructing, and defeating the lawful functions of the U.S. government,

through fraud and deceit, for the purpose of interfering with the U.S. political and electoral

processes. ECF No. 1, ¶¶ 1–7. The conspiracy included a Russian organization, defendant Internet

Research Agency LLC (the “Organization”), that conducted what it called “information warfare”

against the United States to spread “distrust towards the candidates” in the 2016 election and “the

political system in general.” Id. ¶ 10. The Indictment further alleges that defendant Yevgeniy

Viktorovich Prigozhin approved, supported, and funded the Organization’s operations through

other entities that he directly controls, particularly defendant Concord Management and a second

entity, defendant Concord Catering. Id. ¶¶ 3, 11-12.2 Concord “was the Organization’s primary

source of funding for its interference operations.” Id. ¶ 11. Concord also “controlled funding,



2
  Prigozhin and both Concord entities charged in the Indictment were, at that time, under sanctions
by the U.S. Department of Treasury for their involvement in the Russian government’s activities
in Ukraine. 12/20/16 Press Release, Treasury Sanctions Individuals and Entities In Connection
with Russia’s Occupation of Crimea and the Conflict in Ukraine, available at
https://www.treasury.gov/press-center/press-releases/Pages/jl0688.aspx (Prigozhin); 6/20/17
Press Release, Treasury Designates Individuals and Entities Involved in the Ongoing Conflict in
Ukraine, available at https://www.treasury.gov/press-center/press-releases/Pages/sm0114.aspx
(Concord sanctioned “for being owned or controlled by Yevgeniy Prigozhin”).


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recommended personnel, and oversaw Organization activities through reporting and interaction

with Organization management.” Id. In particular, when the defendants began in or around 2015

to purchase social media advertisements, spending thousands of dollars each month, “[t]hese

expenditures were included in the budgets the Organization submitted to Concord.” Id. ¶ 35.

       To carry out their interference activities without detection of their Russian affiliation, the

Indictment charges, the defendants “knowingly and intentionally” conspired to obstruct the lawful

functions of the Federal Election Commission, the Department of Justice, and the Department of

State. ECF No. 1, ¶¶ 7, 9.     The Indictment further alleges that the defendants used a host of

deceptive means to impede these entities’ functions, including surreptitious intelligence gathering

in the United States by foreign agents, influence operations conducted through false online

personas, and fraudulent visa applications for entry to the United States. Id. ¶¶ 5, 7, 10-11.

                                          ARGUMENT

THE MOTION TO DISMISS THE INDICTMENT SHOULD BE DENIED BECAUSE THE
INDICTMENT PLAINLY, CONCISELY, AND DEFINITELY STATES THE ESSENTIAL
FACTS CONSTITUTING THE OFFENSE OF A CONSPIRACY TO DEFRAUD THE
UNITED STATES

I.     The Indictment Satisfies Fed. R. Crim. P. 7(c) Because It Alleges All The Elements Of
       A Defraud-Clause Section 371 Conspiracy And Describes The Essential Nature Of
       The Defendants’ Alleged Conspiracy

       A.      Applicable Legal Principles

       Section 371 makes it a crime for “two or more persons [to] conspire either to commit any

offense against the United States, or to defraud the United States, or any agency thereof in any

manner or for any purpose,” as long as one conspirator performs an overt act. Section 371 “is the

descendant of and bears a strong resemblance to conspiracy laws that have been in the federal

statute books since 1867.” Tanner v. United States, 483 U.S. 107, 128 (1987). Conspiracies to

defraud the United States encompass not only “cheating the Government out of property or money,



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but also * * * interfering with or obstructing one of its lawful governmental functions by deceitful

and fraudulent means.” United States v. Cohn, 270 U.S. 339, 346 (1926); see also United States

v. Johnson, 383 U.S. 169, 172 (1966) (same). Indeed, for nearly a century, the Supreme Court has

held that the statute’s defraud clause “reaches ‘any conspiracy for the purpose of impairing,

obstructing, or defeating the lawful function of any department of government.’” Dennis v. United

States, 384 U.S. 855, 861 (1966) (quoting Haas v. Henkel, 216 U.S. 462, 479 (1910)); see also

Glasser v. United States, 315 U.S. 60, 66 (1942); Hammerschmidt v. United States, 265 U.S. 182,

188 (1924). A prohibited conspiracy to defraud thus encompasses agreements to obstruct a lawful

function of the Government or its agencies by deceitful or dishonest means. Hammerschmidt, 265

U.S. at 188.

       The term “defraud” in Section 371 is broader than the same term in other statutes that aim

to protect solely private or pecuniary interests. McNally v. United States, 483 U.S. 350, 358 n.8

(1987). Because “Section 371 is a statute aimed at protecting the Federal Government alone,” it

differs from, for example, the mail-fraud statute, which “had its origin in the desire to protect

individual property rights, and any benefit which the Government derives from the statute must be

limited to the Government’s interests as property holder.” Id. Section 371 reaches more broadly

to prohibit conspiracies “to interfere with or obstruct one of [the United States’] lawful

governmental functions by deceit, craft or trickery, or at least by means that are dishonest.”

Hammerschmidt, 265 U.S. at 188.

       Consistent with Section 371’s text and the statute’s government-protective purpose, the

D.C. Circuit has identified three essential elements of a conspiracy to defraud the United States:

(1) two or more persons formed an agreement to defraud the United States; (2) the defendant

knowingly participated in the conspiracy with the intent to defraud the United States; and (3) at




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least one overt act was committed in furtherance of the common scheme. See United States v.

Davis, 863 F.3d 894, 901 (D.C. Cir. 2017); United States v. Mellen, 393 F.3d 175, 180-81 (D.C.

Cir. 2004) (Roberts, J.); United States v. Treadwell, 760 F.2d 327, 333 (D.C. Cir. 1985).

       “[A]n indictment is sufficient if it, first, contains the elements of the offense charged and

fairly informs a defendant of the charge against which he must defend, and, second, enables him

to plead an acquittal or conviction in bar of future prosecutions for the same offense.” Hamling v.

United States, 418 U.S. 87, 117 (1974).3 “It is generally sufficient that an indictment set forth the

offense in the words of the statute itself,” id., but there are some crimes “that must be charged with

greater specificity,” United States v. Resendiz-Ponce, 549 U.S. 102, 109 (2007). A defraud-clause

conspiracy charge, the court of appeals has held, requires such specificity. The government must

accompany Section 371’s generic language “‘with such a statement of the facts and circumstances

as will inform the accused of the specific offense, coming under the general description, with

which he is charged.’” Treadwell, 760 F.2d at 337. In other words, a Section 371 indictment must

describe the “‘essential nature of the plan.’” Id. at 336 (quoting Blumenthal v. United States, 332

U.S. 539, 557 (1947)); see also United States v. Shellef, 507 F.3d 82, 104 (2d Cir. 2007) (“The

‘indictment charging a defraud clause conspiracy [must] set forth with precision the essential

nature of the alleged fraud.’” (quoting United States v. Helmsley, 941 F.2d 71, 90 (2d Cir. 1991)).

       B.      The Indictment Adequately Alleges A Conspiracy To Defraud The United
               States

       The Indictment fulfills Rule 7(c)’s pleading requirements because it contains all “the

elements of the offense,” United States v. Verrusio, 762 F.3d 1, 13 (D.C. Cir. 2014) (citation and



3
  “[T]hese basic principles of fundamental fairness retain their full vitality under modern concepts
of pleading, and specifically under Rule 7(c) of the Federal Rules of Criminal Procedure.” Russell
v. United States, 369 U.S. 749, 765-66 (1962).


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internal quotation marks omitted), and alleges in detail the essential nature of the defendants’

scheme to defraud the United States.

       First, tracking Section 371’s language and Hammerschmidt’s construction of the defraud

clause, the Indictment alleges that the defendants “knowingly and intentionally” formed an

agreement “to defraud the United States by impairing, obstructing, and defeating the lawful

functions of the Federal Election Commission, the U.S. Department of Justice, and the U.S.

Department of State in administering federal requirements for disclosure of foreign involvement

in certain domestic activities.” ECF No. 1, ¶ 9; see Hammerschmidt, 265 U.S. at 187-88. The

Indictment goes on to identify the governmental functions of each of these agencies that the

defendants are alleged to have agreed to impair, and how the defendants in fact impaired those

functions by deceitful and dishonest means.

       As the Indictment alleges, the Federal Election Campaign Act (FECA) “prohibits foreign

nationals from making any contributions, expenditures, independent expenditures, or

disbursements for electioneering communications” and “requires that individuals or entities who

make certain independent expenditures in federal elections” report them to the Federal Election

Commission (FEC). ECF No. 1, ¶ 25; see 52 U.S.C. § 30104(c) (requiring persons who make

“independent expenditures” of more than $250 in a calendar year to file reports with the FEC); id.

§ 30101(17) (defining “independent expenditure” to require express advocacy). These reporting

requirements permit the FEC to “fulfill its statutory duties of providing the American public with

accurate data about the financial activities of individuals and entities supporting federal

candidates.” ECF No. 1, ¶ 25. The Foreign Agent Registration Act (FARA), which is administered

by the Department of Justice (DOJ), “requires, among other things, that persons subject to its

requirements”—including agents of foreign principals (which includes foreign non-government




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individuals and entities)—submit “periodic registration statements containing truthful information

about their activities and the income earned from them” so that the government may “evaluate the

statements and activities of such persons in light of their function as foreign agents.” Id. ¶ 26; see

22 U.S.C. § 612(a) (prohibiting a person from acting as an agent of a foreign principal unless the

person is registered with the Attorney General); id. § 611(b), (c), (o) (defining foreign principal to

include non-government entities and individuals abroad who engage in certain specified acts

within the United States). United States law also “requires certain foreign nationals seeking entry

to the United States to obtain a visa by providing truthful and accurate information” about “their

employment and the purpose of their visit”; the Department of State (DOS) is the federal agency

responsible for the issuance of such non-immigrant visas. ECF No. 1, ¶¶ 1, 27. The Indictment

alleges that the defendants agreed to impair these federal entities by “fraud and deceit,” including

“making expenditures in connection with the 2016 U.S. presidential election without proper

regulatory disclosure”; “failing to register as foreign agents carrying out political activities within

the United States”; and “obtaining visas through false and fraudulent statements.” Id. ¶¶ 1, 7.4



4
  Although an indictment need not “put the defendants on notice as to every means by which the
prosecution hopes to prove that the crime was committed,” United States v. Haldeman, 559 F.2d
31, 124 (D.C. Cir. 1976) (en banc) (per curiam), the Indictment further specifies a number of the
defendants’ deceptive practices. For example, the defendants did “not report their expenditures to
the Federal Election Commission, or register as foreign agents with the U.S. Department of
Justice” when the defendants “began to produce, purchase, and post advertisements on U.S. social
media and other online sites expressly advocating for the election of then-candidate Trump or
expressly opposing Clinton.” ECF No. 1, ¶ 48. Likewise, without reporting their expenditures to
the FEC or registering with DOJ, the defendants allegedly “staged political rallies inside the United
States, and while posing as U.S. grassroots entities and U.S. persons, and without revealing their
Russian identities,” solicited and compensated “real U.S. persons to promote or disparage
candidates.” Id. ¶ 6. Further, certain defendants traveled to the United States “under false
pretenses in order to collect intelligence for their interference operations.” Id. ¶ 30. These
defendants accomplished this travel by lying on their visa applications—“falsely claim[ing] they
were traveling for personal reasons” and “not fully disclos[ing] their place of employment to hide
the fact that they worked” for the Organization. Id.; see also id. ¶ 5.


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With this detailed charging language, the Indictment informs the defendants of the “‘essential

nature’ of the conspiratorial agreement.” Treadwell, 760 F.2d at 337; see, e.g., United States v.

Recognition Equip., Inc., 711 F. Supp. 1, 5 (D.D.C. 1989), overruled in part, United States v.

Williams, 504 U.S. 36 (1992).

          Second, the Indictment properly alleges the requisite mens rea, charging that the defendants

“knowingly and intentionally” conspired to defraud the United States. ECF No. 1, ¶¶ 2, 9. As

discussed below, that allegation captures the mental state of knowing fraudulent intent that Section

371 requires. See Part I.D infra.

          Finally, as required, the Indictment alleges that a defendant committed at least one overt

act in furtherance of the defendants’ common scheme to defraud the United States by obstructing

the lawful functions of the FEC, DOJ, and DOS. See 18 U.S.C. § 371. Specifically, the Indictment

alleges that the defendants committed 27 overt acts to further the conspiracy and effect its illegal

“object” of “impairing, obstructing, and defeating the lawful governmental functions of the United

States by dishonest means in order to enable the Defendants to interfere with U.S. political and

electoral processes, including the 2016 U.S. presidential election.” ECF No. 1, ¶¶ 28, 59-85.

          Giving the Indictment the careful scrutiny appropriate to charges under “the broad language

of the general conspiracy statute,” Dennis, 384 U.S. at 860, Concord’s motion to dismiss should

be denied. Consistent with Rule 7(c), the Indictment is “sufficiently definite to inform [the

defendants] of the charges against them,” Glasser, 315 U.S. at 66, and its “allegation as to

conspiracy to defraud * * * properly reflects the essence of the alleged offense,” Dennis, 384 U.S.

at 863.

          C.     The Indictment Need Not Allege A Violation Of A Statute Beyond Section 371

          Despite the Indictment’s detailed description of the defendants’ intended fraud against the

United States, Concord maintains (at 13-14) that Count One suffers from a “fatal structural flaw”:


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“it provides no indication of what is meant—under statute or regulation—by a ‘lawful

governmental function’ as it relates to the FEC, the DOJ, or the FECA and FARA statutes.”

Instead, Concord asserts (at 14), the purportedly impeded governmental functions “exist only in

the abstract” or are “locked up in the fertile mind of the Special Counsel, shrouded in secrecy.”

These claims are meritless.

       Count One’s allegations more than satisfy Concord’s demand (at 16) that the Indictment

“identify the ‘governmental function’ at issue.” As explained supra, the Indictment provides

significant detail concerning the federal laws governing election-expenditure disclosure

obligations, foreign-agent registration requirements, and visa-application prerequisites. It also

specifically identifies the federal agencies responsible for enforcing these laws.      And the

Indictment specifies how the defendants allegedly obstructed these agencies’ functions by fraud

and deceit.

       Concord’s real complaint (at 14-15) is that the Indictment does not “spell out with

particularity how and why Concord has violated” a particular provision of either FECA or FARA,

noting that these laws “are referred to but not cited in the Indictment.”        This argument

misunderstands the essential nature of a conspiracy to defraud the United States in violation of

Section 371. The indictment does not charge a conspiracy to commit an offense under Section

371’s separate offense clause, which prohibits conspiring “to commit any offense against the

United States.” 18 U.S.C. § 371. It charges instead a conspiracy “to defraud the United States.”

Id. Regardless of whether the conduct contemplated by the defendants constituted or could be

charged as separate crimes—or whether that conduct would not have been criminal apart from

Section 371’s defraud clause—the defendants’ agreement to engage in the deceptive activities

described in the Indictment violates Section 371 so long as the defendants’ intent was to defraud




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the United States by impeding a governmental function through deceit. Dennis, 384 U.S. at 860-

61.

       The “gravamen” of a Section 371 conspiracy to defraud the United States is the

combination of actors in using deception to defeat and impair the functions of the United States

and its agencies. Dennis, 384 U.S. at 860-61. “It is not the form of the combination or the

particular means used but the result to be achieved that the statute condemns.” American Tobacco

Co. v. United States, 328 U.S. 781, 809 (1946); see also Continental Ore Co. v. Union Carbide &

Carbon Corp., 370 U.S. 690, 707 (1962) (same). Accordingly, it is immaterial whether the

defendants violated—or intended to violate—any statute other than Section 371.                 “[T]he

impairment or obstruction of a governmental function contemplated by section 371’s ban on

conspiracies to defraud need not involve the violation of a separate statute.” United States v.

Rosengarten, 857 F.2d 76, 78 (2d Cir. 1988). The “defraud clause does not depend on allegations

of other offenses,” United States v. Barker Steel Co., Inc., 985 F.2d 1123, 1131 (1st Cir. 1993), and

even otherwise “lawful activity may furnish the basis for a conviction under § 371,” United States

v. Hurley, 957 F.2d 1, 4 (1st Cir. 1992); see also United States v. Cueto, 151 F.3d 620, 636 (7th Cir.

1998) (same); United States v. Caldwell, 989 F.2d 1056, 1059 (9th Cir. 1993) (same), overruled on

other grounds, Neder v. United States, 527 U.S. 1 (1999). Thus, because a Section 371 conspiracy

to defraud is itself a crime, a count of an indictment “drawn under it need refer to no other statute

than § 371.” United States v. Vazquez, 319 F.2d 381, 384 (3d Cir. 1963); see also United States v.

Vogt, 910 F.2d 1184, 1200 (4th Cir. 1990) (same).

       The decision in United States v. Kanchanalak, 41 F. Supp. 2d 1 (D.D.C.), rev’d on other

grounds, 192 F.3d 1037 (D.C. Cir. 1999), exemplifies these principles. In that case, the defendants

were charged with multiple counts of causing political committees to make false statements to the




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FEC in violation of 18 U.S.C. §§ 1001 and 2. The defendants were also charged with conspiring

to impede the lawful functions of the FEC in violation of Section 371. The defendants argued (as

Concord argues here) that the defraud-clause conspiracy charge was deficient “because they had

no obligation to report their identity to the FEC or to reveal their identity to the political

committees,” and therefore “as a matter of law they could not have impaired or impeded any

function of the FEC.” 41 F. Supp. 2d at 10. Invoking the principles set forth above, Kanchanalak

rejected that argument, explaining that the indictment was legally sufficient because it “alleges a

conspiratorial agreement to use deceptive or deceitful means to prevent the FEC from performing

its lawful reporting function.” Id.

       In the present case, as in Kanchanalak, the government will not have to ultimately prove

that any particular defendant’s conduct violated, for example, FECA or FARA. Rather, the

government will only have to prove that the defendants knowingly and intentionally engaged in

deceptive acts that interfered with the regulatory functions of the FEC or DOJ in a way that

precluded those entities from ascertaining whether those substantive statutes were violated. Thus,

for example, if the government establishes that, had federal agents known of the defendants’

Russian affiliation—which the defendants deceptively concealed from the United States—those

agents would naturally have initiated an investigation to ascertain whether the defendants were in

fact complying with the election-contribution or agent-registration laws, then the government has

proved a Section 371 violation. Cf. United States v. Gaudin, 515 U.S. 506, 509 (1995) (materiality

in a prosecution under 18 U.S.C. § 1001 for making a false statement “in any matter within the

jurisdiction of any department or agency” exists when the statement has “a natural tendency to

influence, or [is] capable of influencing, the decision of the decisionmaking body”) (citations and

internal quotation marks omitted; tense of bracketed language altered); United States v. Moore,




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612 F.3d 698, 701 (D.C. Cir. 2010) (false statement under Section 1001 “need not actually

influence an agency in order to be material”).5 In such circumstances, the defendants’ deception

about their affiliation would have forestalled (i.e., impeded or obstructed) an agency’s

investigation (i.e., a lawful governmental function) even if that deception did not constitute

substantive violations of FECA or FARA.6




5
  Under Section 1001, a false statement can be within the jurisdiction of a federal agency even if
it is not made directly to the government. See, e.g., United States v. King, 660 F.3d 1071, 1081
(9th Cir. 2011); United States v. Herring, 916 F.2d 1543, 1547 (11th Cir. 1990); United States v.
Baker, 626 F.2d 512, 514 (5th Cir. 1980). That principle—that fraudulent deception of the United
States can occur through indirect, as well as direct means—applies equally under Section 371.
See, e.g., United States v. Ballistrea, 101 F.3d 827, 832-33 (2d Cir. 1996) (“contention that the
required element of ‘obstruction’ or ‘interference’ must involve actual contact between the
defendant and the Government agency—for instance, through the making of misrepresentations to
agency officials or the submitting of false information to the agency—finds no support in the case
law”) (collecting cases). Moreover, the commission of a fraud does not require that the false
statement was directed at the intended victim of the fraud. See United States v. Greenberg, 835
F.3d 295, 306 (2d Cir. 2016) (collecting cases rejecting “convergence” theory of mail and wire
fraud). Accordingly, the Indictment need not allege that the defendants’ acts of deception included
statements directed toward the FEC or DOJ, so long as the Indictment alleges, as it does, that a
purpose of those acts of deception was to interfere with the lawful functions of the United States
government.
6
  Concord contends (at 15) that the Court of Appeals has ruled to the contrary and found that a
FECA violation is necessary to support either an offense-clause or a defraud-clause conspiracy. A
close reading of In re Sealed Case, 223 F.3d 775 (D.C. Cir. 2000), however, reveals that the dictum
Concord refers to addressed the requirements of only an offense-clause conspiracy. In re Sealed
Case assessed the applicability of the crime-fraud exception to documents of a Republican
National Committee (RNC) lawyer resisting compliance with a subpoena. Id. at 776-78. In finding
that the crime-fraud exception did not apply, In re Sealed Case concluded that the conduct the
RNC officials were accused of was “not criminal.” Id. at 779. Further, the court reasoned, though
the government had alleged that the RNC officials “‘conspire[d] either to commit an[] offense
against the United States or to defraud the United States,’” there could be “no finding of
conspiracy” because the “transaction described by the government does not violate FECA.” Id.
As the opinion’s next sentences demonstrate, however, this dictum refers only to an offense-clause
conspiracy: “Pure legal impossibility is always a defense. For example, a hunter cannot be
convicted of attempting to shoot a deer if the law does not prohibit shooting a deer in the first
place. Obviously a charge of conspiracy to shoot deer would be equally untenable.” Id. (citation
and internal quotation marks omitted).


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       In sum, just as Concord contends (at 14) that it must, the Indictment “spell[s] out with

particularity how and why Concord has violated the law.” The Indictment alleges that the

defendants violated Section 371—a “law”—by conspiring to defraud the United States. It also

details the governmental functions that the defendants agreed to impede by deceitful and dishonest

means, which is the “gist” of a defraud-clause conspiracy, Dealy v. United States, 152 U.S. 539,

547 (1894). Nothing more is required. Concord’s insistence on specific allegations about

particular violations of either FECA or FARA thus fails. See Recognition Equip., Inc., 711 F. Supp.

at 5 (“Since it tracks the elements of § 371, which is an independent offense not requiring a

showing that any specific statute has been violated, the ‘means’ list does not have to describe the

specific elements of any substantive offense other than § 371.”).

       D.      The Indictment Need Not Allege That The Defendants Had A Willful Mens Rea

       Concord additionally asserts (at 19-38) that the Indictment’s mens rea allegations are

deficient because the Indictment does not allege either that the defendants acted with the “requisite

willful intent” or that Concord itself “specifically intended, through its alleged conduct, to defraud

the United States.” These claims are erroneous and should be rejected.

            1. Willfulness is not an element of a Section 371 defraud-clause conspiracy

       Concord contends (at 4, 19-34) that, because Count One is “predicated on a highly

technical web of election, campaign-finance, and foreign-agent registration laws” (FECA and

FARA) and those statutes “invoke a willfulness requirement,” Count One must also invoke a

willfulness requirement, specifically an allegation that Concord “knew that its funding constituted

a violation of law and intended that its conduct defraud the FEC and DOJ.” Concord’s theory is

incorrect because Congress provided mental state requirements in Section 371 through its use of

the terms “conspire” and “defraud.” Those terms require knowing participation in a conspiracy

and intent to defraud. Because those forms of intent provide the requisite level of culpability, there


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is no license to read into the statute additional, heightened forms of intent that do not appear in its

text.

               a. Section 371 identifies the requisite mens rea as an intent to defraud the United
                  States, not willfulness

        The elements of a federal criminal offense, including the mental state required to commit

the offense, is a matter for determination by Congress. Liparota v. United States, 471 U.S. 419,

424 (1985). Ordinarily, the mens rea element of an offense can be determined by examining the

text of the statute and the accumulated meaning of any common law terms that the statute

incorporates. If a statute provides no express mens rea element, either textually or through

interpretation of common law terms, Congress is nonetheless presumed to require some form of

mens rea. See Morissette v. United States, 342 U.S. 246, 252 (1952). But in such instances, there

is no presumption that a defendant must “know that his conduct is illegal before he may be found

guilty.” Elonis v. United States, 135 S. Ct. 2001, 2009 (2015). To the contrary, because ignorance

of the law is generally no excuse, the “conventional mens rea element,” Staples v. United States,

511 U.S. 600, 605 (1994), is that a defendant “‘know the facts that make his conduct fit the

definition of the offense,’ even if he does not know that those facts give rise to a crime,” Elonis,

135 S. Ct. at 2009 (citation omitted). A heightened mens rea requirement demanding knowledge

of the law therefore cannot be implied absent statutory text that provides for such a showing—

which Congress generally expresses by use of the word “willfully.” Bryan v. United States, 524

U.S. 184, 191-92 (1998). When that word is absent from a statute, courts almost invariably will

not impose a knowledge-of-illegality requirement. See id. at 193.

        Section 371 makes it a crime for two or more persons to “conspire” to “defraud the United

States, or any agency thereof in any manner or for any purpose.” Because Section 371 does not

contain a willfulness requirement, a conspiracy-to-defraud offense can be established by showing



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that the defendant knowingly and intentionally agreed to a course of conduct intended to defraud

the United States, i.e., that he knowingly conspired, with the intent to defraud. No showing is

required that he acted with knowledge of the law governing the federal entities whose activities he

conspired to obstruct through deception. See Bates v. United States, 522 U.S. 23, 29 (1997) (courts

should “ordinarily resist reading words or elements into a statute that do not appear on its face”).7

       The terms that Section 371 employs—“conspire” and “defraud the United States”—

confirm that no willfulness requirement exists.        “Section 371’s use of the term ‘conspire’

incorporates long-established principles of conspiracy law.” Ocasio v. United States, 136 S. Ct.

1423, 1429 (2016). “In a conspiracy, two different types of intent are generally required—the

basic intent to agree, which is necessary to establish the existence of the conspiracy, and the more

traditional intent to effectuate the object of the conspiracy.” United States v. United States Gypsum

Co., 438 U.S. 422, 443 n.20 (1978); see Ocasio, 136 S. Ct. at 1429 (same). Accordingly, where—

as here—the object of a Section 371 conspiracy is to defraud the United States, the government

need only prove a knowing entry into a conspiracy with intent to defraud, which “means to act

knowingly and with the intention or the purpose to deceive or to cheat.” United States v. Howard,

245 F. Supp. 2d 24, 38 (D.D.C. 2003) (citation and internal quotation marks omitted); see United

States v. Hester, 598 F.2d 247, 250 (D.C. Cir. 1979) (per curiam); see also Shaw v. United States,

137 S. Ct. 462, 469 (2016) (under the federal bank fraud statute, 18 U.S.C. § 1344(1), a “scheme

to defraud” a bank means “to deceive the bank and deprive it of something of value”) (emphasis



7
  Bates illustrates the flipside of this point: a statute that contains a “willfully” requirement does
not implicitly require intent to defraud. 522 U.S. at 29-33; see also Holder v. Humanitarian Law
Project, 561 U.S. 1, 16-17 (2010) (refusing to import “specific intent” requirement into material
support statute, 18 U.S.C. § 2339B, where “Congress plainly spoke to the necessary mental state
for a violation of § 2339B, and it chose knowledge about the organization’s connection to
terrorism, not specific intent to further the organization’s terrorist activities”).


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omitted); Aaron v. Securities and Exchange Commission, 446 U.S. 680, 686 n.5, 696 (1980) (under

the securities laws, 15 U.S.C. § 77q(a), a “scheme or artifice to defraud” requires knowing or

intentional misconduct “to deceive, manipulate, or defraud”); United States v. Lepowitch, 318 U.S.

702, 704 (1943) (under false personation statute, 18 U.S.C. § 76, “the words ‘intent to defraud’”

do “not require more than the defendants have, by artifice and deceit, sought to cause the deceived

person to follow some course he would not have pursued but for the deceitful conduct”).

       Section 371’s structure supports this reading of the statute’s terms. There are two

independent ways of violating Section 371: conspiring “to commit any offense against the United

States” and conspiring “to defraud the United States.” Thus, “Section 371, though written as one

criminal statute, proscribes two types of conspiracies.” Vogt, 910 F.2d at 1200. Because Concord

is charged with conspiring to defraud the United States, not with committing a substantive offense,

the requisite mental state is the intent of “impairing, obstructing, or defeating the lawful function

of any department of government” through deception. Dennis, 384 U.S. at 861 (citation and

internal quotation marks omitted); Hammerschmidt, 265 U.S. at 187-88.

       Though Concord suggests (at 25) that this construction of Section 371 will permit the

government to “evade” FECA’s and FARA’s willfulness standards and “routinely” charge

“offense-clause cases * * * as defraud-clause cases,” it has long been recognized that “when an act

violates more than one criminal statute, the Government may prosecute under either so long as it

does not discriminate against any class of defendants.” United States v. Batchelder, 442 U.S. 114,

123-24 (1979). It is thus “permissible to prosecute under either the defraud clause or the offense

clause regardless of whether there [i]s a specific statute describing the conduct alleged in the

conspiracy.” United States v. Harmas, 974 F.2d 1262, 1266 (11th Cir. 1992); see also Glasser, 315

U.S. at 66-67 (rejecting claim that Section 371 defraud-clause indictment was “defective” because,




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though the indictment charged a conspiracy “requiring concerted action namely, bribery,” the

indictment did not also charge “as a substantive offense the giving or receiving of bribes” or “a

conspiracy to give or accept bribes”; the indictment “charges ‘a conspiracy to * * * defraud the

United States, the scheme of resorting to bribery being averred only to be a way of consummating

the conspiracy and which, like the use of a gun to effect a conspiracy to murder, is purely ancillary

to the substantive offense’”) (quoting United States v. Manton, 107 F.2d 834, 839 (2d Cir. 1939)).

       Consistent with Section 371’s text and structure, the D.C. Circuit defines the requisite mens

rea for a defraud-clause conspiracy as an intent to defraud. In Treadwell, the court explained that,

“[t]o establish a criminal conspiracy under Section 371,” the government must prove the defendant

“knowingly participated in the conspiracy with the intent * * * to defraud the United States.” 760

F.2d at 333. Similarly, in Davis, the Circuit declared that a defraud-clause conspiracy charge

requires proof that a defendant “knowingly agreed with [the co-defendant] (or another person) to

defraud the federal government of money or to deceptively interfere with the lawful functions of”

a particular government agency. 863 F.3d at 901; see also Mellen, 393 F.3d at 180-81 (same).

Neither decision suggested that any heightened degree of culpability might exist based on the type

of governmental function that was deceptively obstructed. Because the Indictment conforms to

Section 371’s statutory terms and governing D.C. Circuit authorities, Concord’s motion to dismiss

should be denied.8




8
  Concord invokes the rule of lenity (at 12-13), but that rule is properly invoked only when “there
is a grievous ambiguity or uncertainty in the statute.” Shaw, 137 S. Ct. at 469 (citation and internal
quotation marks omitted); accord, e.g., Dean v. United States, 556 U.S. 568, 577 (2009). As
described, Section 371’s “statutory text and structure,” Dean, 556 U.S. at 577, demonstrate that
that provision does not contain a willfulness element and that the statute is not ambiguous, let
alone grievously ambiguous.


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               b. Importation of a willfulness element into Section 371’s defraud clause is not
                  necessary to ensure that such a charge captures only criminal conduct

       Despite Section 371’s plain language and the D.C. Circuit’s defraud-clause precedents,

Concord asserts (at 19-20) that a special mens rea rule applies where the underlying conduct relates

to election contributions or foreign-agent registration. Relying on Ratzlaf v. United States, 510

U.S. 135 (1994), and Cheek v. United States, 498 U.S. 192 (1991), Concord contends that, “where,

as here,” a Section 371 conspiracy alleges “interference with the enforcement of complex,

reticulated statutory functions,” the mens rea “specifically required is ‘willfulness’—a standard

that includes ‘knowledge of the law[s]’ that define those functions.”

       Concord’s argument rests on a misconception about the nature of a defraud-clause

conspiracy. The defraud clause of Section 371 describes a stand-alone criminal offense: a

conspiracy to defraud the United States. A defraud-clause charge requires reference to no other

criminal offense because deceiving the government to impair its functions is culpable conduct in

itself. Thus, a defraud-clause conspiracy does not require proof that a completed conspiracy would

violate the underlying substantive law. Likewise, a defendant can conspire to impair governmental

functions through deception without comprehensively or accurately understanding the legal

requirements being administered.       These attributes of a defraud-clause conspiracy refute

Concord’s suggestion that this Court must borrow the willfulness standards of FECA or FARA and

import them into Count One. Proving the charged defraud-clause conspiracy does not depend on

proving that the defendant’s underlying conduct would amount to a substantive FECA or FARA

violation, and there is therefore no basis for importing those statutes’ mens rea requirements.9


9
  In any event, a violation of the provisions that the FEC is charged with enforcing as part of its
lawful functions does not require a showing of willfulness. Indeed, when the FEC brings civil
enforcement actions it is not required to show a willful violation of FECA, as willfulness is an
element only of a criminal violation. See, e.g., Federal Election Commission v. California Medical



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          Concord’s willfulness theory would treat the same language in Section 371 as having

different meanings depending on the underlying governmental function at issue.          “There is no

basis whatever in the text” of Section 371, however, “to read the same provisions in that statute as

requiring [willfulness] in some circumstances but not others.” Holder v. Humanitarian Law

Project, 561 U.S. 1, 17 (2010). Further, no principle of law would justify giving the statutory

phrase “defraud the United States” different meanings depending on the particular conduct

charged. Indeed, any suggestion to that effect would mean that FECA and FARA impliedly

repealed the relevant language in Section 371. But the Supreme Court has recognized that to

establish an implied repeal, “it is not enough to show that the two statutes produce differing results

when applied to the same factual situation. Rather, the legislative intent to repeal must be manifest

in the positive repugnancy between the provisions.” Batchelder, 442 U.S. at 122 (citations and

internal quotation marks omitted). Concord has identified nothing in the text or history of FECA

or FARA that establishes a “positive repugnancy” between those laws and Section 371’s defraud

clause.    To the contrary, because a defraud-clause conspiracy does not require proof of a

substantive criminal violation, there is not the slightest tension between these statutes.

          Moreover, Cheek and Ratzlaf do not assist Concord’s claim that a willfulness requirement

should be read into Section 371. Those cases do not address Section 371, and their holdings depend



Ass’n, 502 F. Supp. 196, 203 (N.D. Cal. 1980) (explaining that knowledge of the facts “is sufficient
to create civil liability” under FECA, while willfulness must be shown to impose enhanced
penalties); In re Federal Election Campaign Act Litigation, 474 F. Supp. 1044, 1047 (D.D.C. 1979)
(faulting complaint filed with FEC for failing to allege that defendant acted “[k]nowingly”);
Federal Election Commission v. Friends of Jane Harman, 59 F. Supp. 2d 1046, 1052 (C.D. Cal.
1999) (civil enforcement action based on defendant “knowingly accept[ing]” unlawful campaign
contributions); cf. 52 U.S.C. § 30109(d)(1)(A) (imposing criminal penalties for “knowingly and
willfully” violating certain provisions of FECA); id. § 30109(a)(5)(B) (imposing enhanced
penalties in civil proceedings for willful violations). Accordingly, there is no reason why a
defraud-clause conspiracy charging deceptive conduct intended to interfere with those lawful
functions should require a showing of willfulness.

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on statutory factors that are absent here: express willfulness elements and schemes that raise the

risk of penalizing persons for “innocent errors made despite the exercise of reasonable care.”

Cheek, 498 U.S. at 205 (citation and internal quotation marks omitted). In Cheek, the Supreme

Court recognized that the “proliferation of statutes and regulations has sometimes made it difficult

for the average citizen to know and comprehend the extent of the duties and obligations imposed

by the tax laws.” Id. at 199-200. Accordingly, Cheek held, the standard for “the statutory

willfulness requirement” of the tax offenses at issue was the “‘voluntary, intentional violation of a

known legal duty,’” and the district court thus erred in instructing the jury that it should “disregard

evidence of Cheek’s understanding that, within the meaning of the tax laws, he was not a person

required to file a return or to pay income taxes[.]” Id. at 201, 203 (citation omitted). Similarly

Ratzlaf held that, where the “statutory formulation [of the anti-structuring offense] under which

Ratzlaf was prosecuted * * * call[ed] for ‘willful[ness]’ on the actor’s part,” the “jury had to find

he knew the structuring in which he engaged was unlawful.” 510 U.S. at 140, 149. In so holding,

Ratzlaf rejected the suggestion that “structuring is so obviously ‘evil’ or inherently ‘bad’ that the

‘willfulness’ requirement is satisfied irrespective of the defendant’s knowledge of the illegality of

structuring.” Id. at 146. Both Cheek and Ratzlaf thus “involved highly technical statutes that

presented the danger of ensnaring individuals engaged in apparently innocent conduct.” Bryan,

524 U.S. at 194. “As a result,” the Supreme Court “held that th[o]se statutes ‘carv[e] out an

exception to the traditional rule’ that ignorance of the law is no excuse and require that the

defendant have knowledge of the law.” Id. at 194-95 (citation and footnote omitted).

       Neither Cheek nor Ratzlaf supports Concord’s contention that this Court must specially

graft a willfulness element onto Section 371 where the impaired regulatory functions relate to

either election contributions or foreign-agent registration. In contrast to the tax and structuring




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offenses in those cases, Section 371 does not contain an express willfulness element, i.e., a

congressionally-designated element that connotes an act “undertaken with a ‘bad purpose.’”

Bryan, 524 U.S. at 191 (citation omitted). The absence of such an element is understandable

because, by definition, a conspiracy under the defraud clause must be deceptive or deceitful. See

Hammerschmidt, 265 U.S. at 187-88. The wrongfulness of the conspiracy consists of acting with

the intent to defraud by using deception to impair the government’s functions. Because such

deceptive conduct aimed at disrupting governmental functions is inherently wrongful, Section 371

does not require additional proof that the defendant intended to act unlawfully to ensure that

individuals engaged in innocent conduct are not ensnared by a Section 371 charge. There is thus

no justification for amending Section 371 by adding a non-statutory, willfulness element. In the

context of a defraud-clause conspiracy, the “agreement itself, along with other evidence of criminal

or fraudulent purposes, demonstrates that the parties to it (1) manifested a disposition to criminal

activity and (2) posed an enhanced danger to the community by their concerted, mutually enforcing

actions.” United States v. Shoup, 608 F.2d 950, 957 (3d Cir. 1979).

               c. Following Cheek and Ratzlaf, the federal courts of appeals have consistently
                  declined to graft a willfulness element onto Section 371’s defraud clause

       Numerous courts of appeals’ decisions since Cheek and Ratzlaf have declined to import a

willfulness element into Section 371, even in the context of defraud-clause conspiracies predicated

on inherently complex tax and structuring offenses. Those decisions confirm the government’s

position that no willfulness requirement exists here.

       In United States v. Derezinski, 945 F.2d 1006 (8th Cir. 1991), Derezinski was prosecuted

under Section 371’s defraud clause with impeding the IRS even though he might have been

prosecuted under Section 371’s offense clause with substantive tax offenses. Id. at 1010. Like

Concord, Derezinski argued that his indictment was “defective because it charged him under the



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general defraud clause of Section 371 when the Government was actually trying to prosecute him

for conspiring to commit two specific offenses”—concealing assets (26 U.S.C. § 7206) and

circumventing the reporting requirements of financial institutions (31 U.S.C. §§ 5312, 5321). 945

F.2d at 1010. The Derezinski court rejected this claim. “While it may be true that the Government

could have also charged Derezinski under the specific offense clause of section 371, it is well

settled that when conduct violates more than one criminal statute, the Government may choose

which statute it will apply.” Id. Further, relying on Cheek, Derezinski contended that because the

tax statute defining the specific offense required a showing of willfulness, the government had to

prove the same level of willfulness when pursuing a conviction under Section 371’s defraud clause.

Id. at 1012. Derezinski concluded, however, that “Cheek does not apply to this case because the

Government prosecuted Derezinski under a general conspiracy statute, not a criminal tax statute,

and because ‘willfulness’ is not an express element of section 371.” Id.

       In like fashion, following Ratzlaf, numerous defendants have unsuccessfully argued that a

willfulness standard should be imported into any Section 371 defraud-clause charge premised on

a structuring offense. In United States v. Jackson, 33 F.3d 866 (7th Cir. 1994), for example, a

grand jury charged the defendants with conspiring to defraud the United States by impeding the

IRS’s function of collecting information about the defendants’ over-$10,000 cash transactions—

information, the indictment further alleged, that was “‘useful in criminal, tax and regulatory

investigations.’” Id. at 869 (citation omitted). In affirming the defendants’ defraud-clause

convictions, the Seventh Circuit emphasized that “a § 371 conspiracy to defraud the United States

is an independent violation that need not be based on the violation of another substantive statute.”

Id. at 870. Accordingly, the government “was not required to demonstrate knowledge of illegality,

as Ratzlaf requires.” Id. “Ratzlaf’s holding concerning the meaning of ‘willfully violating’ in the




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antistructuring laws * * * has no bearing on the defendants’ § 371 convictions; § 371 contains no

such language.” Id. at 871. Rather, to prove a defraud-clause conspiracy, the government need

only show an “‘intent to commit the substantive offense, i.e., to defraud the United States.’” Id. at

872 (citation omitted); see also United States v. Khalife, 106 F.3d 1300, 1302-03 (6th Cir. 1997)

(holding that “intent element of § 371 does not require the government to prove that the

conspirators were aware of the criminality of their objective”; Section 371 “contain[s] no language

connoting willfully,” and the “proper mens rea” is an “intent to commit the substantive offense,

i.e., to defraud the United States”) (citations, emphasis, and internal quotation marks omitted);

United States v. Wapnick, 60 F.3d 948, 952-53 (2d Cir. 1995) (following Jackson and declining to

reverse defendant’s defraud-clause conviction based on Ratzlaf —“a conspiracy conviction under

§ 371 does not require that the government prove a violation of a separate substantive statute”).10

               d. Concord’s authorities do not support grafting a willfulness element onto
                  Section 371’s defraud clause

       Concord asserts (at 26-34) that numerous federal authorities “support[] the need for a

willfulness showing here.” But the authorities Concord cites do not make the case for a willfulness

mens rea.

       Concord repeatedly invokes (at 1, 7, 17, 19, 20, 23-24, 27, 31, 32) Judge Kavanaugh’s

majority opinion in Bluman v. Federal Election Comm’n, 800 F. Supp. 2d 281 (D.D.C. 2011), sum

aff’d, 565 U.S. 1104 (2012), and his concurring opinion in United States v. Moore, 612 F.3d 698


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   Concord’s effort to distinguish these cases fails. Concord concedes (at 33) that Khalife and
Jackson did not “require[] proof that the defendant knew it was violating the particular underlying
substantive statute for purposes of a § 371 defraud conspiracy,” but nevertheless maintains that
those cases are consistent with its position because “both required proof that each co-conspirator
agreed to accomplish an illegal objective against the United States and had the specific intent to
impede lawful tax collection.” But the same is true of the indictment in this case, which alleges
that the defendants intentionally conspired to impede the lawful functions of three federal
government agencies. ECF No. 1, ¶ 9.


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(D.C. Cir. 2010), but neither addresses Section 371.          Bluman—a civil case—assessed the

constitutionality of the ban on non-citizens’ political expenditures and cautioned that, when the

government “seek[s] criminal penalties for violations of th[at] provision” (which requires a

defendant “act ‘willfully’”), the government must prove the defendant’s “knowledge of the law.”

800 F. Supp. 2d at 292 (citation omitted; emphasis added). Similarly, Moore concerned a violation

of Section 1001, which “proscribes only those false statements that are ‘knowingly and willfully’

made.’” 612 F.3d at 702 (Kavanaugh, J., concurring) (emphasis added). Accordingly, Judge

Kavanaugh opined, the government must prove that “the defendant knew his conduct was a crime.”

Id. at 704. Because Count One need not allege a violation of a substantive offense other than

Section 371 and that statute does not contain an express “willful” element, Bluman and Moore

contribute nothing to Concord’s mens rea argument.

       Equally unavailing are Concord’s two First Circuit authorities (at 27-28), neither of which

addresses the necessity of proof of willfulness in a Section 371 prosecution. Rather, in both cases,

the district court apparently assumed the propriety of a willfulness instruction, and the defendants

argued only that those instructions did not go far enough. In United States v. Monteiro, 871 F.2d

204 (1st Cir. 1989), the defendant was charged with both a defraud-clause conspiracy and

substantive tax-code violations, which made it a crime to “‘willfully aid[] or assist[]’” in the

preparation of fraudulent tax documents. Id. at 208 (citation omitted). As to both charges, the

district court instructed the jury that it had to find the defendant acted “‘with specific intent to do

something the law forbids.’” Id. (citation omitted). On appeal, however, the defendant complained

that the willfulness instruction failed to charge the “‘voluntary, intentional violation of a known

legal duty,’” a claim that Monteiro rejected. Id. (citation omitted). In United States v. Morosco,

822 F.3d 1 (1st Cir.), cert. denied, 137 S. Ct. 251, 137 S. Ct. 403 (2016), both the government and




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the defendant “asked the judge to tell the jury that a section-371 conviction requires proof that the

defendant acted ‘willfully,’ i.e., with ‘bad purpose, either to disobey or to disregard the law.’” Id.

at 20 (citation omitted). On appeal, however, the defendant claimed that the jury should also have

been instructed that it had to find that the defendant knew his “actions were not just improper” but

“‘criminal.’” Id. at 21. Though acknowledging the United States’ argument that the trial court’s

instruction “actually required prosecutors to prove ‘a level of mens rea’ higher than what the statute

demands,” Morosco declined to address this contention, reasoning that it was not relevant to the

“mens-rea issue” actually raised by the defendant. Id. In neither Monteiro nor Morosco did the

First Circuit consider whether willfulness was an element of a defraud-clause conspiracy.

       Concord’s reliance (at 28) on United States v. Trie, 21 F. Supp. 2d 7 (D.D.C. 1998), is

similarly misplaced. Trie rejected the very argument advanced by Concord in its motion, denying

a pretrial motion to dismiss a Section 371 defraud-clause conspiracy that did not allege willfulness.

In denying that motion, the court explained that, because the defendant was charged with impeding

the lawful functions of the FEC by causing a political committee to file false campaign finance

reports, the government would have to prove at trial that the defendants were aware of the political

committee’s reporting obligations. Id. at 14. Proof of such awareness was required in that case

because the government’s theory of criminal liability was that the defendants had impaired the

lawful functions of the FEC by causing others to engage in deceptive conduct. To obtain a

conviction on that theory, the government would be required to establish that the defendants were

aware that the conduct they caused others to commit was deceptive, that is, the defendants were

aware that their actions would cause the political committees to make false statements. But Trie

did not hold that the government was required to plead in its indictment or prove at trial the element

of willfulness—on the contrary, Trie rejected that very argument in denying the defendants’ motion




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to dismiss the Section 371 charge for failure to allege willfulness. The quotation from Trie cited

by Concord (at 28) for the contrary proposition (“the court concluded that the government was

required to show the ‘defendant knew of the [political party] treasurers’ reporting obligations, that

he attempted to frustrate those obligations, and that he knew his conduct was unlawful’”) comes

from a different section of the opinion addressing the elements of a violation of 18 U.S.C. §§ 1001

and 2. Trie, 21 F. Supp. 2d at 14 (making the observation cited by Concord in a paragraph that

begins, “Counts 9-11 of the indictment charge Mr. Trie with causing the DNC to make false

statements in its reports to the FEC in violation of 18 U.S.C. § 1001 (false statements) and 2 (aiding

and abetting)”). As Trie noted, Sections 1001 and 2 (unlike Section 371) both contain the word

“willfully.” Id. (emphasizing the word “willfully” in Section 1001 in italics).

       Concord also cites (at 28-29) United States v. Curran, 20 F.3d 560 (3d Cir. 1994), but omits

mention of the limitations imposed on that authority by the Third Circuit itself. In Curran, the

grand jury charged the defendant with causing election-campaign treasurers to submit false reports

to the FEC, in violation of 18 U.S.C. §§ 2(b) and 1001. 20 F.3d at 562. The grand jury also

charged the defendant with a defraud-clause conspiracy “based on the same conduct.” Id. In

reversing the defendant’s Section 1001 convictions, Curran concluded that the government had

“the burden of proving that defendant knew of the campaign treasurers’ obligation to submit

contribution reports” to the FEC, and that the jurors should have been so instructed, but were not.

Id. at 570. And, relying on a single offense-clause authority, Curran summarily reasoned that the

defendant’s Section 371 conviction also had to be overturned because the “trial court essentially

incorporated the instruction on intent it had used for the substantive counts” into the conspiracy

charge and, in order to prove a conspiracy, “‘the government must show an agreement to commit

an unlawful act combined with intent to commit the underlying offense.’” Id. at 571 (quoting




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United States v. American Investors of Pittsburgh, Inc., 879 F.2d 1087, 1100 (3d Cir. 1989)). In

light of the scant and questionable foundation supporting Curran’s reasoning, it is not surprising

that the Third Circuit has subsequently confined its reach to the charges at issue there, “tandem

violations of §§ 1001 and 2(b) in the ‘federal election law context,’” two statutes that (unlike

Section 371) contain the term “willfully.” United States v. Starnes, 583 F.3d 196, 211-12 (3d Cir.

2009) (quoting Curran, 20 F.3d at 567-69). Indeed, in a further retreat from Curran, the Third

Circuit has also recognized that willfulness generally “is not an element of the crime of conspiring

to defraud the United States,” and has thus reserved whether in a defraud-clause prosecution based

on interference with the IRS the government would have to prove that the defendant “acted

willfully.” United States v. McKee, 506 F.3d 225, 243 n.14 (3d Cir. 2007).11




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   Concord relies (at 28-29) on another Third Circuit authority, United States v. Alston, 77 F.3d 713
(3d Cir. 1996), but Alston simply applied Curran in a case involving structuring of financial
transactions. See id. at 719 (“Both logic and our decision in Curran dictate our holding here.”).
Moreover, the defraud-clause conspiracy charged in Alston consisted of “nothing more than
structuring,” and the government’s proof at trial supporting the defraud-clause charge consisted of
exactly “the same body of evidence” supporting the structuring conspiracy, a charge of which
Alston was acquitted after trial. Id. at 720. The Third Circuit found significant the fact that the
defraud-clause conspiracy and the structuring conspiracy were identical, and limited its holding
accordingly: “Although we do not foreclose the possibility of convicting a defendant under
§ 371’s ‘defraud’ clause based on charges in addition to or different from pre-1994 acts of
structuring, as we have just discussed, the present indictment * * * charged no more or less than a
straight-out structuring conspiracy.” Id. at 721. As discussed supra, Alston’s conclusion that a
defraud-clause conspiracy identical to a structuring conspiracy requires proof of willfulness is
inconsistent with the Supreme Court’s repeated admonition that the same conduct can be
criminalized by multiple statutes with different elements. But in any event Alston is
distinguishable from this case in that the defraud-clause conspiracy in Count One is not “nothing
more than” a conspiracy to violate a single statute requiring willfulness. On the contrary, Count
One alleges that the defendants (including Concord) engaged in a variety of deceptive and deceitful
acts intended to impede the lawful governmental functions of multiple federal agencies. Therefore,
the indictment in this case does not present the circumstance presented by Alston, where the
defraud-clause conspiracy “charged no more or less than a straight-out” conspiracy to violate a
single criminal statute requiring willfulness. Id.


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       Finally, United States v. Licciardi, 30 F.3d 1127 (9th Cir. 1994), does not support Concord’s

effort to read a willfulness element into Section 371. In Licciardi, the Ninth Circuit reversed the

defendant’s defraud-clause conspiracy conviction on the ground that the evidence at trial failed to

establish that a purpose of the conspiracy (rather than merely its “incidental effects”) was to impair

the functions of the federal government. Id. at 1132. In so holding, the Ninth Circuit reasoned

that “[i]t might have been easy for the government to establish that Licciardi” was aware of the

relevant regulations and acted with the intent to frustrate them, but the government did not present

evidence to that effect at trial. Id. As explained below, the indictment in this case does allege (and

the evidence at trial will show) that, consistent with Licciardi, a purpose of the conspiracy charged

in Count One was to defeat the lawful governmental functions of the FEC, DOJ, and DOS. But

Licciardi did not purport to hold that willfulness was an element of a defraud-clause conspiracy

charged under Section 371.

       Concord cites the Department of Justice’s Federal Prosecution of Election Offenses

handbook (at 23-25) for the proposition that “the government itself agree[s] that election-based

conspiracies like the one charged here required a showing of willfulness.” While the handbook

might be susceptible of this interpretation, the Department recently issued a clarification to address

that ambiguity and make clear that it is “not the Department’s position” that a jury in a Section

371 defraud-clause prosecution must find both willfulness and the intent to disrupt a federal agency

function. See Memorandum from Richard C. Pilger, Director, Election Crimes Branch, Public

Integrity Section of the Criminal Division (Aug. 6, 2018) (attached as Appendix A). “The

Department’s position regarding the required intent for a conspiracy to defraud the United States

is that the jury must find the intent to disrupt and impede the lawful function of a federal agency

through deceitful means.” Id. (citing Khalife, 106 F.3d at 1303; United States v. Cyprian, 23 F.3d




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1189, 1201 (7th Cir. 1994); Derezinski, 945 F.2d at 1012). That is consistent with the longstanding

litigating position of the United States on the interpretation of Section 371: in all manner of

Section 371 litigation, the United States has consistently advocated that a defraud-clause

conspiracy does “not require proof of willfulness.” U.S. Br., United States v. Basile, 2014 WL

1118045, at *39 (5th Cir. 2014).12 In any event, the “Government’s reading of a criminal statute”

in Justice Department guidance documents like the handbook “is [not] entitled to any deference”

by the courts because it may reflect, for example, “overly cautious legal advice,” United States v.

Apel, 571 U.S. 359, 369 (2014); see also Abramski v. United States, 134 S. Ct. 2259, 2274 (2014)

(“criminal laws are for courts, not for the Government, to construe”).

               e. The Indictment’s charges do not implicate protected speech

       Finally, Concord’s willfulness argument is not advanced by observing that the Indictment’s

allegations relate to the 2016 election, as Concord claims (at 20-22). Although Concord maintains

(at 2) that, “when it comes to political speech, one is free to pretend to be whomever he or she

wants to be and to say whatever he or she wants to say,” the Indictment does not “target” such

“political speech.” Rather, the Indictment targets the defendants’ participation in a conspiracy to




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   See also, e.g., U.S. Br., United States v. Morosco, 2016 WL 199268, at *27 (1st Cir. 2016)
(Criminal Division brief: “Here, Section 371 required proof that the defendant conspired with
others to impair or impede a lawful government function through deceitful means. Because such
conduct is inherently wrongful, and because Section 371 does not expressly or implicitly require
‘willful’ action, the statute does not require proof that the defendant intended to act unlawfully.”);
U.S. Br., United States v. Flowers, 2003 WL 22715930, at *13 n.2 (9th Cir. 2003) (“The District
Court’s instructions deviated from the standard definition of conspiracy to defraud the United
States, which does not require the government to prove willfulness.”); U.S. Br., United States v.
Stacey, 2003 WL 23303138, at *19 n.5 (9th Cir. 2003) (“In order to establish a conspiracy to
defraud the United States, the government need only establish an intent to defraud and not the
intent necessary to commit another substantive offense.”); U.S. Br., United States v. Khalife, 1995
WL 17849650, at *14 (6th Cir. 1995) (“statute prohibiting conspiracies ‘to defraud the United
States’ does not require proof that defendants knew their conduct was unlawful”).


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obstruct governmental functions by deceitful means, conduct that is not protected by the First

Amendment.

       The Indictment’s allegations focus not on the defendants’ speech but their numerous

deceptive acts. Those acts, the Indictment charges, were designed to mask the defendants’ Russian

affiliation and, in turn, impede the lawful functions of the FEC, DOJ, and DOS. Thus, the

Indictment alleges, the defendants: deployed “false[hoods]” on their visa applications, which

allowed certain defendants to travel to the United States under “false pretenses in order to collect

intelligence” (ECF No. 1, ¶ 30); created “fictitious U.S. personas” on social media sites (id. ¶¶ 32,

43, 48); used numerous Twitter accounts, which they “falsely claimed” to be controlled by U.S.

entities (id. ¶ 36); used stolen U.S. identities to maintain social media accounts and to purchase

advertisements (id. ¶ 41); and purchased space on computer servers located in the United States to

“hide their Russian identities” (id. ¶ 39). By these myriad fraudulent means—and not by means

of any protected political speech—the Indictment charges, the defendants endeavored to impede

the lawful governmental functions of the relevant government agencies.

       These allegations do not implicate the First Amendment because “fraud” is one of the

“historic and traditional categories” of content-based speech restrictions that can generally be

prohibited. United States v. Alvarez, 567 U.S. 709, 717 (2012) (plurality op.) (citation and internal

quotation marks omitted); see also United States v. Stevens, 559 U.S. 460, 468-69 (2010); Illinois

ex rel. Madigan v. Telemarking Assoc., Inc., 538 U.S. 600, 612 (2003). Indeed, the Supreme Court

has recognized, those criminal statutes that “protect the integrity of Government processes”—such

as laws prohibiting individuals from falsely representing that one is speaking on the government’s

behalf or from impersonating a government official—are beyond the First Amendment’s scope

because they “implicate fraud or speech integral to criminal conduct.” Alvarez, 567 U.S. at 721-




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22 (plurality op.). The Indictment’s allegations similarly do not implicate the First Amendment

because they involve the defendants’ deceptive efforts to obstruct the lawful functions (i.e.,

government processes) of several government entities. See United States v. Daly, 756 F.2d 1076,

1081-82 (5th Cir. 1985) (rejecting defendant’s claim that his “very prosecution” pursuant to

Section 371 for impeding the IRS “violated his First Amendment right to the freedom of speech”—

“an illegal course of conduct is not protected by the First Amendment merely because the conduct

was in part initiated, evidenced, or carried out by means of language”).

                                             *****

       In sum, Count One is sufficient because it alleges (1) that Concord knowingly and

intentionally participated in a conspiracy to engage in deceptive conduct, and (2) that a purpose of

that deceptive conduct (although neither the only nor the primary purpose) was to frustrate lawful

governmental functions.13

           2. The Indictment adequately alleges that the conspirators specifically intended
              to defraud the United States or its agencies

       Concord additionally contends (at 34-38) that “a § 371 conspiracy to defraud requires more

than just conduct, even fraud, which ultimately can be linked to an impairment of a lawful



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   Count One also charges that the defendants conspired to impede DOS’s function “in
administering federal requirements for disclosure of foreign involvement in certain domestic
activities,” including by “obtaining visas through false and fraudulent statements.” ECF No. 1,
¶¶ 7, 9. Concord understandably does not contend that willfulness is an element of visa fraud.
Thus, the Indictment’s visa-related allegations alone preclude this Court from dismissing Count
One in its entirety. And, although Concord maintains (at 4 n.3) that the Indictment does not allege
that Concord itself knew “about the visa application process or the representations made by the
co-defendants,” such specific allegations are unnecessary so long as the Indictment contains all
the elements and describes the essential nature of the defendants’ fraudulent scheme, which it does.
See Glasser, 315 U.S. at 66-67. Any proof issues about Concord’s specific knowledge of the
agreement’s scope, including the visa-related actions of Concord’s co-conspirators, thus could
only justify this Court’s grant of an in-trial or post-trial motion for judgment of acquittal, not a
motion to dismiss the Indictment.


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function.” Rather, it claims that the government must show that a defendant “committed to

engag[ing] in fraud that [he] knew would be specifically directed at the United States government

or its agencies.” But, Concord claims (at 34-35), the Indictment “alleges only” that Concord

“provided funding for unspecified purposes to foreign persons, recommended personnel, and

reviewed budgets containing advertising expenditures * * * but with no indication that Concord

specifically targeted the United States or its agencies in undertaking that conduct.” To the extent

that Concord suggests that it must have performed or agreed to perform the fraudulent conduct

itself, its position contradicts basic principles of conspiracy law. See Salinas v. United States, 522

U.S. 52, 63-64 (1997) (“The partners in the criminal plan must agree to pursue the same criminal

objective and may divide up the work, yet each is responsible for the acts of each other.”); accord

Ocasio, 136 S. Ct. at 1429-30. And to the extent that Concord suggests that targeting the United

States must have been the sole or primary object of the conspiracy, its position contradicts the law

interpreting Section 371.

        “The conspiracies criminalized by § 371 are defined not only by the nature of the injury

intended by the conspiracy, and the method used to effectuate the conspiracy, but also—and most

importantly—by the target of the conspiracy,” which the statute identifies as “‘the United States

or any agency thereof.’” Tanner, 483 U.S. at 130. The impairment of a lawful governmental

function, however, need “not be the sole or even a major objective of the conspiracy.” United

States v. Gricco, 277 F.3d 339, 348 (3d Cir. 2002) (Alito, J.), overruled on other grounds, United

States v. Cesare, 581 F.3d 206 (3rd Cir. 2009). Nor need it be an “objective that is sought as an

end in itself.” Id. Indeed, the “intent to defraud the United States may be incidental to another

primary motivation or purpose.” United States v. Gurary, 860 F.2d 521, 525 (2d Cir. 1988). The




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government need only show that impeding a governmental function “was one of the conspiracy’s

objects and not merely a foreseeable consequence or collateral effect.” Gricco, 277 F.3d at 348.

       The Indictment meets these standards because it charges that the defendants conspired to

defraud the United States by impairing, obstructing, and defeating the lawful functions of the

government through fraud and deceit “for the purpose of interfering with the U.S. political and

electoral processes, including the presidential election of 2016.” ECF No. 1, ¶ 2. It further alleges

that, in order to carry out these interference activities without detection of the defendants’ Russian

affiliation, the “conspiracy had as its object” the impairment of the functions of the FEC, DOJ, and

DOS, the government entities charged with “administering federal requirements for disclosure of

foreign involvement in certain domestic activities.” Id. ¶¶ 7, 9, 28. The defendants’ acts of fraud

and deceit included making expenditures in connection with the 2016 election “without proper

regulatory disclosure”; failing to register as foreign agents carrying out political activities within

the United States; and obtaining visas “through false and fraudulent statements.” Id. ¶¶ 7, 9. By

“clearly alleg[ing] that the object of the conspiracy was to obstruct specific functions of specific

agencies,” identifying the “functions” of those agencies, and describing particular acts that

thwarted those agencies’ functions, the Indictment satisfies Rule 7(c). United States v. Hsia, 24 F.

Supp. 2d 33, 53 (D.D.C. 1998), rev’d on other grounds, 176 F.3d 517 (D.C. Cir. 1999); see also

Barker Steel Co., 985 F.2d at 1135-36; Kanchanalak, 41 F. Supp. 2d at 10.

       Concord does not contest that the Indictment sufficiently alleges a United States target, but

claims (at 38) that Count One must be dismissed because it fails to identify the specific evidence

demonstrating Concord’s knowledge that the conspiracy was “directed” at the government.

“Although an indictment must in order to fulfill constitutional requirements apprise the defendants

of the essential elements of the offense with which they are charged, neither the Constitution, the




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Federal Rules of Criminal Procedure, nor any other authority suggests that an indictment must put

the defendants on notice as to every means by which the prosecution hopes to prove the crime was

committed.” United States v. Haldeman, 559 F.2d 31, 124 (D.C. Cir. 1976) (en banc) (per curiam);

see also United States v. Singhal, 876 F. Supp. 2d 82, 93 (D.D.C. 2012). As explained supra, the

Indictment contains all the essential elements of the Section 371 offense, including that the

“Defendants * * * knowingly and intentionally conspired to defraud the United States by

impairing, obstructing, and defeating the lawful functions of the Federal Election Commission, the

U.S. Department of Justice, and the U.S. Department of State in administering federal

requirements for disclosure of foreign involvement in certain domestic activities.” ECF No. 1, ¶ 9

(emphasis added). Nothing more is required. See Kanchanalak, 41 F. Supp. 2d at 10; Hsia, 24 F.

Supp. 2d at 53; see also United States v. Cella, 37 App. D.C. 423, 427 (1911) (“It is true that the

particular part to be assumed or undertaken by each conspirator in the consummation of the

unlawful scheme is not set forth [in the indictment]; but this is unnecessary.”).

       Similarly, to the extent that Concord intimates (at 35) that the Indictment is deficient

because the defendants’ actual goal was to influence private parties (i.e., United States voters) that

is not a reason to dismiss Count One. On the contrary, as discussed above, even if the defendants’

primary reason for engaging in deceptive and deceitful conduct was to influence private parties,

that conduct nevertheless establishes a defraud-clause conspiracy so long as another reason for the

defendants’ conduct was to impair lawful governmental functions. That the defendants engaged

in deceptive and deceitful conduct to obtain both the objective of influencing private parties and

the objective of impairing governmental functions makes perfect sense, as the defendants may not

have been able to influence private parties unfettered had they subjected themselves to regulation

by the federal government. Concord’s voters-as-target argument is thus a proof issue for trial, a




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point that Concord’s own authorities (at 35-38) make. None of those courts dismissed an

indictment pursuant to Fed. R. Crim. P. 12. Instead, those courts concluded that the government’s

proof—adduced either at a jury trial or in a bench trial via stipulated facts—failed to show that the

defendants intended to thwart a governmental function. See United States v. Mendez, 528 F.3d

811, 815 (11th Cir. 2008) (per curiam) (“The facts to which the parties stipulated do not show that

Mendez even knew the federal government was * * * involved in the issuance of Florida

[commercial driver’s licenses], let alone that the United States was the ultimate intended target of

Mendez’s conduct.”); Licciardi, 30 F.3d at 1132 (government “failed to prove its case against

Licciardi for conspiracy to defraud the United States by impairing the functions” of the Bureau of

Alcohol, Tobacco and Firearms because government “did not make the effort to show that Licciardi

had ‘conspired to cause’” a private party “to provide false information to the BATF”) (quoting

Tanner, 483 U.S. at 132); United States v. Pappathanasi, 383 F. Supp. 2d 289, 291-95 (D. Mass.

2005) (granting post-trial, Rule 29 motion where government’s evidence failed to show that “a

purpose of the conspiracy was to interfere with the proper functioning of the IRS”).

       At trial, the government “will have the burden of proving the existence of a conspiratorial

agreement and the obstruction of a function” of the FEC, DOJ, or DOS, “but the indictment

sufficiently alleges a Section 371 conspiracy.” Hsia, 24 F. Supp. 2d at 53.

       E.      The Indictment Need Not Allege A Deprivation Of Government Money Or
               Property

       Though conceding (at 43-44) that this Court is bound by Hammerschmidt, which held that

Section 371 “extends to conspiracies to defraud aimed at interfering with ‘lawful governmental

functions’ even where the government is not deprived of ‘property or money,’” Concord asserts

that that decision’s “atextual” construction of Section 371 is “plainly wrong.” This claim is

meritless.



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       As support for its “plainly wrong” contention, Concord cites (at 44) a pre-Hammerschmidt

decision that described the fraud prohibited by the statutory predecessor to Section 371 as only

fraud “against the coin” and “cheating the government of its land or other property,” United States

v. Hirsch, 100 U.S. 33, 35 (1879). This assertion, however, ignores that the Supreme Court has

repeatedly recognized and reaffirmed the construction of the conspiracy statute’s defraud clause

subsequently adopted in Hammerschmidt. Thus, whatever the import of the 1879 decision in

Hirsch, the Court has thereafter—in 1942, 1966, and 1987—consistently embraced a definition of

fraud that encompasses interference with a lawful governmental function. See, e.g., Glasser, 315

U.S. at 66; Dennis, 384 U.S. at 861; McNally, 483 U.S. at 358 n.8. Concord also suggests (at 44)

that Hammerschmidt ignored the “settled common-law meaning” of defraud—“to deprive another

of property rights by dishonest means.” But when the initial version of the conspiracy statute—

which prohibited conspiring “to defraud the United States in any manner whatever,” Act of March

2, 1867, ch. 169, § 30, 14 Stat. 471, 484—was enacted, none of the definitions of “defraud” listed

in Noah Webster’s leading contemporary dictionary was limited to circumstances involving money

or property. See Noah Webster, American Dictionary of the English Language 347 (1864 ed.)

(“Webster”). The primary definition was instead “[t]o deprive of right by fraud, deception, or

artifice.” Id. (emphasis added). One of Webster’s alternative definitions of “defraud”—“[t]o

defeat or frustrate wrongfully,” Webster 347—was potentially even more expansive. And

Congress’s inclusion in the conspiracy statute of the modifier “in any manner whatever” (which

was later expanded to “in any manner or for any purpose,” Rev. Stat. § 5440; 18 U.S.C. § 371)

demonstrated its intention that the term “defraud” be given its broadest possible meaning.

       In any event, even if this Court were not bound by Hammerschmidt, Concord’s attempt to

re-litigate its holding is misplaced. Congress long ago adopted for itself the definition that




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precedent provided. In 1948, when Congress codified the current conspiracy statute, see Act of

June 24, 1948, ch. 645, 62 Stat. 683, 701 (enacting 18 U.S.C. § 371), the Supreme Court’s

interpretation of the phrase “defraud the United States in any manner or for any purpose” was

already well established. See Haas, 216 U.S. at 479-80; Hammerschmidt, 265 U.S. at 187-88;

Glasser, 315 U.S. at 66. By deciding to incorporate that language into Section 371, Congress

manifested its intent also to incorporate the preexisting definition provided by the Supreme Court’s

decisions. “Congress is presumed to be aware of an administrative or judicial interpretation of a

statute and to adopt that interpretation when it re-enacts a statute without change.” Forest Grove

Sch. Dist. v. T.A., 557 U.S. 230, 239-40 (2009) (quoting Lorillard v. Pons, 434 U.S. 575, 580

(1978)). Congress made no relevant change here. If anything, the language of Section 371—

which prohibits conspiring “to defraud the United States, or any agency thereof in any manner or

for any purpose,” 18 U.S.C. § 371 (emphasis added)—is even broader than the language of the

conspiracy statute when Hammerschmidt was decided, which did not specifically mention

agencies, see 265 U.S. at 185 (quoting Rev. Stat. § 5440).14




14
   Concord additionally contends (at 43) that Hammerschmidt’s holding has been “eroded” by
Skilling v. United States, 561 U.S. 358 (2010). Skilling, however, addressed a different statute,
namely 18 U.S.C. § 1346, which expanded the scope of certain substantive fraud offenses to
include schemes “to deprive another of the intangible right of honest services.” To avoid
vagueness concerns with that phrase—not the term “to defraud”—Skilling construed Section 1346
to cover “only bribery and kickback schemes.” 561 U.S. at 368; see id. at 399-413. Skilling
reasoned that Congress had intended, in enacting Section 1346, to codify the courts of appeals’
pre-McNally understanding of the relevant fraud statutes and that bribes and kickbacks were the
“core” conduct clearly prohibited by the pre-McNally cases. Id. at 399-413. Plainly, Skilling’s
vagueness concerns about a congressional attempt to resurrect a set of circuit decisions that “were
not models of clarity or consistency,” id. at 405, do not apply here, where Congress has codified
longstanding and clear statutory-interpretation decisions of the Supreme Court.


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II.    Section 371’s Defraud Clause Is Not Unconstitutionally Vague Either On Its Face Or
       As Applied To The Conduct Alleged In The Indictment

       Concord finally contends (at 40) that the Indictment should be dismissed because, “even

on its face,” Section 371’s defraud clause “could be construed expansively to extend to all the

myriad ways in which the government regulates and operates on a daily basis.” Further, Concord

raises an apparent as-applied challenge, asserting (at 4) that Count One “is an unconstitutionally

vague conspiracy charge.” These arguments fail.

       A penal statute is void for vagueness only if it does not “define the criminal offense with

sufficient definiteness that ordinary people can understand what conduct is prohibited and in a

manner that does not encourage arbitrary and discriminatory enforcement.” Kolender v. Lawson,

461 U.S. 352, 357 (1983). The vagueness doctrine “does not invalidate every statute which a

reviewing court believes could have been drafted with greater precision.” Rose v. Locke, 423 U.S.

48, 49 (1975) (per curiam). Nor is a statute unconstitutionally vague simply because “trained

lawyers” must “consult legal dictionaries, treatises, and judicial opinions before they may say with

any certainty” what the statute forbids. Id. at 50. Instead, “clarity at the requisite level may be

supplied by judicial gloss on an otherwise uncertain statute[.]” United States v. Lanier, 520 U.S.

259, 266 (1997); see also Morosco, 822 F.3d at 5 (“Of course the requisite fair warning can come

from judicial decisions construing the law.”).

       Recently, the Supreme Court clarified that a “vague” criminal statute is not otherwise

“constitutional merely because there is some conduct that falls within the provision’s grasp.”

Johnson v. United States, 135 S. Ct. 2551, 2561 (2015) (emphasis added). Following Johnson,

then, Section 371’s defraud clause is not necessarily “saved by the fact that some conduct clearly

falls within” its prohibition. United States v. Westbrooks, 858 F.3d 317, 325 (5th Cir. 2017),

vacated on other grounds, 138 S. Ct. 1323 (2018). “But as several circuits have held, Johnson did



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not change the rule that a defendant whose conduct is clearly prohibited cannot be the one making

that challenge.” Id. (citing decisions from seven circuits); see also United States v. Bramer, 832

F.3d 908, 909 (8th Cir. 2016) (per curiam) (“Though Bramer need not prove that § 922(g)(3) is

vague in all its applications, our case law still requires him to show that the statute is vague as

applied to his particular conduct.”); Crooks v. Mabus, 845 F.3d 412, 417 (D.C. Cir. 2016);

Flytenow, Inc. v. F.A.A., 808 F.3d 882, 895 (D.C. Cir. 2015).15

       Concord “is in no position to assert a facial vagueness challenge” to Section 371, Flytenow,

Inc., 808 F.3d at 895, because Concord has failed to show that the defraud clause is vague as

applied to the particular conduct charged in the Indictment. To the contrary, that conduct is “clearly

proscribed,” id., by Section 371. As noted above, “to defraud the United States” means to

“interfere with or obstruct one of its lawful governmental functions by deceit, craft or trickery, or

at least by means that are dishonest.” See supra. The Indictment alleges that, in order to mask

their Russian affiliation from those federal agencies charged with enforcing laws governing

disclosure of foreign involvement in certain domestic activities, defendants used fraudulent and

deceitful means, including making expenditures in connection with the election without regulatory

disclosure, failing to register as foreign agents, and obtaining visas through false statements. The

defendants’ agreement, which aimed to impair the proper functioning of the FEC, DOJ, and DOS,

for the purpose of interfering with United States electoral processes and which involved multiple

forms of dishonest behavior, thus falls squarely within the longstanding understanding of Section

371’s defraud-the-United States prohibition. See Morosco, 822 F.3d at 5-7 (Section 371 is not


15
   “[W]hen a statute ‘interferes with the right of free speech or association, a more stringent
vagueness test’” applies. Humanitarian Law Project, 561 U.S. at 19 (quoting Hoffman Estates v.
Flipside, Hoffman Estates, Inc., 455 U.S. 489, 495 (1982)). Contrary to Concord’s contention (at
42), however, the application of Section 371’s defraud clause to defendants’ conduct does not
threaten any First Amendment rights. See Part I.D.1.e supra.


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unconstitutionally vague as applied to conspiracy to obstruct HUD agency’s inspection function);

Cueto, 151 F.3d at 635-36 (Section 371 is not unconstitutionally vague as applied to efforts to

impair an FBI investigation and impede a grand jury); Derezinski, 945 F.2d at 1010-11 (Section

371 is not unconstitutionally vague as applied to conspiracy to hide taxable income from the IRS);

United States v. Middendorf, 2018 WL 3443117, at *6 (S.D.N.Y. July 17, 2018) (Section 371 is

not unconstitutionally vague as applied to conspiracy to obstruct SEC in execution of its regulatory

and enforcement functions); see also Barker Steel Co., 985 F.2d at 1134-35 (finding no notice

problem where Information’s allegations “involved deceit and trickery to benefit the defendants

by hampering a lawful government function”).16

       Even if Concord were permitted to raise a facial challenge to Section 371, the defraud

clause’s longstanding construction to prohibit deceptive conduct that aims to obstruct federal

agency functions is not vague. In 1924, Hammerschmidt “clarified the meaning of conspiracy to

defraud,” Cueto, 151 F.3d at 635. The fraud covered by the statute reaches any conspiracy for the

purpose of impairing, obstructing or defeating the lawful function of any department of the

Government. Hammerschmidt, 265 U.S. at 188; see also Tanner, 483 U.S. at 128. “[I]t is settled”

that a defendant must at least employ “dishonest means” in executing his scheme. Glasser, 315

U.S. at 66; see also Hammerschmidt, 265 U.S. at 188. Moreover, because the statute is “designed

to protect the integrity of the United States and its agencies,” United States v. Ballistrea, 101 F.3d

827, 831 (2d Cir. 1996) (citation and internal quotation marks omitted), it reaches schemes beyond



16
   Concord points (at 38-39) to statements made by the government at an earlier hearing addressing
whether the Court should review any instructions given to the grand jury. The issue here, however,
is whether the Indictment adequately states an offense. Any concerns or disagreements about how
to articulate the precise basis for liability under the statute should be resolved in framing jury
instructions. The adequacy of the Indictment does not turn on counsel’s statements at any earlier
hearing addressing a different issue.


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those that deprive the government of money or property, see McNally, 483 U.S. at 358 n.8; see

also Davis, 863 F.3d at 901 (same). Judicial decisions have thus provided specific requirements

that explicate the basis of liability for defrauding the United States in terms that ensure ordinary

persons will understand what conduct is prohibited. These requirements of a fraudulent scheme

to impede a governmental function are no less clear than the requirements of other fraud statutes,

which the courts have consistently upheld in the face of vagueness challenges like Concord’s. See,

e.g., United States v. Tagliaferri, 820 F.3d 568, 575 n.6 (2d Cir. 2016) (per curiam) (securities fraud

statute); United States v. Berry, 683 F.3d 1015, 1024-25 (9th Cir. 2012) (Social Security fraud

statute); United States v. Franklin-El, 554 F.3d 903, 910-11 (10th Cir. 2009) (health care fraud

statute); United States v. Rybicki, 354 F.3d 124, 144-45 (2d Cir. 2003) (en banc) (mail and wire

fraud statutes); see generally United States v. Janati, 237 F. App’x 843, 847 (4th Cir. 2007) (per

curiam) (unpublished) (“courts have uniformly rejected vagueness challenges to * * * mail, bank,

and securities fraud statutes”).

       Moreover, Concord’s vagueness challenge to Section 371’s defraud clause is particularly

unpersuasive in light of the culpable state of mind required to violate the statute: an intent to

defraud, meaning an intentional effort to deceive the government in order to impair or defeat

regulatory functions. Under the Supreme Court’s “precedents, a scienter requirement in a statute

‘alleviate[s] vagueness concerns,’ ‘narrow[s] the scope of [its] prohibition[,] and limit[s]

prosecutorial discretion.’” McFadden v. United States, 135 S. Ct. 2298, 2307 (2015) (quoting

Gonzales v. Carhart, 550 U.S. 124, 150 (2007)). Statutes with mens rea requirements requiring a

bad purpose are particularly unlikely to support a constitutional vagueness claim. See, e.g., Skilling

v. United States, 561 U.S. 358, 412 (2010). Because Section 371 requires a specific intent to

defraud, Concord’s facial vagueness challenge fails. See Franklin-El, 554 F.3d at 911 (rejecting




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vagueness attack because, inter alia, health care fraud statute “requires a specific intent to defraud

or misrepresent”).17

       Concord nonetheless claims (at 40) that Section 371 provides inadequate notice because

“‘governmental function’ is not self-defining.” By its plain terms, however, Section 371 prohibits

persons from conspiring to defraud the United States “or any agency thereof.” And a “function”

is the “action for which a person or thing is specially fitted, used, or responsible or for which a

thing exists.” Webster’s Third New International Dictionary 920 (1986). A person reading Section

371 in light of Hammerschmidt’s “governmental function” construction would thus be on notice

that he could not conspire to obstruct the actions for which a federal agency is responsible. See

Barker Steel Co., 985 F.2d at 1131 (“Conspiracy to thwart the operation and purpose of a

government program through deceit and trickery is prohibited by § 371.”). In any event, a “statute

can be unambiguous without addressing every interpretative theory offered by a party. It need

only be ‘plain to anyone reading the Act’ that the statute encompasses the conduct at issue.”

Salinas, 522 U.S. at 60 (citation omitted). As construed by the Supreme Court, Section 371 plainly

forbids persons from conspiring to obstruct an agency’s operations by deceitful means, which the

Indictment charges the defendants did here.




17
   This fair-notice conclusion is not contradicted by McDonnell v. United States, 136 S. Ct. 2355
(2016), as Concord contends (at 42-43). McDonnell construed “official act” as used in the bribery
statute, which prohibits quid pro quo corruption. The government argued that the term “official
act” encompasses “nearly any activity by a public official,” including “arranging a meeting,
contacting another public official, or hosting an event—without more—concerning any subject[.]”
Id. at 2367. McDonnell held that the government’s interpretation of “official act” was not defined
with sufficient definiteness that ordinary people could understand what conduct is prohibited. Id.
at 2367-68. Hammerschmidt’s construction of Section 371’s defraud clause, however, reaches
only fraud that is designed to impair, impede, or defeat government functions. Ordinary citizens
would readily understand that dishonest or deceitful efforts to obstruct governmental functions
constitutes culpable behavior.


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                                       CONCLUSION

       For the reasons stated above, the government respectfully requests that the Court deny

Concord’s motion to dismiss (ECF No. 46).

                                     Respectfully submitted,


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